                      Case 1:19-cv-02963-PGG Document 6 Filed 05/02/19 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


                          NYAM LLC                             )
                             Plaintiff                         )
                                v.                             )      Case No.     19-cv-02963-PGG
         David MacGreevey, Plan Administrator                  )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          David MacGreevey, in his capacity as Plan Administrator for Runway Liquidation Holdings, LLC, et al.         .


Date:          05/02/2019                                                                /s/ Beth E. Levine
                                                                                         Attorney’s signature


                                                                                      Beth E. Levine #BL6715
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